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                Exhibit 4
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From:            J. Daniel Hull
To:              Joshua Margolin
Cc:              Denae Kassotis; Edward Caspar; Danielle Jackson; Claire O"Brien
Subject:         Re: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)
Date:            Thursday, July 21, 2022 6:13:56 PM


Blow me, Josh.


       On Jul 21, 2022, at 6:08 PM, Joshua Margolin <jmargolin@selendygay.com> wrote:



       Daniel,

       Your response below is highly unprofessional. Moreover, it does not change the fact that you
       failed to respond to our requests to confirm a date for the conference. If you choose to attend, I
       am hopeful we can observe a higher level of decorum than you demonstrate below.



       From: John Daniel Hull <jdhull@hullmcguire.com>
       Sent: Thursday, July 21, 2022 5:58 PM
       To: Denae Kassotis <dkassotis@selendygay.com>
       Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
       <jmargolin@selendygay.com>; Danielle Jackson <djackson@hullmcguire.com>; Claire O'Brien
       <cobrien@selendygay.com>
       Subject: Re: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

       Thanks for your hopelessly dickish emails to all counsel.

       J. Daniel Hull
       619-895-8336 cell




              On Jul 21, 2022, at 5:52 PM, Denae Kassotis <dkassotis@selendygay.com> wrote:


              Counsel –

              Despite your failure to respond, we are providing the below information regarding
              the Rule 26(f) conference, which will be held on July 28th from 2-4pm.

              Many thanks,
              Denae



              Microsoft Teams meeting
              Join on your computer or mobile app
              Click here to join the meeting


                                                                                                            Pg.1
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   Or join by entering a meeting ID
   Meeting ID: 220 369 397 314
   Passcode: L26FCK
   Or call in (audio only)
   +1 332-249-0622,,497508951# United States, New York City
   Phone Conference ID: 497 508 951#
   Find a local number | Reset PIN
   Learn More | Meeting options
   ________________________________________________________________________________

   Denae Kassotis
   Associate [Email]
   Selendy Gay Elsberg PLLC [Web]
   Pronouns: she, her, hers
   ----------------------------------------------
   +1 212.390.9062 [O]
   +1 914.560.6228 [M]


   From: Denae Kassotis
   Sent: Tuesday, July 19, 2022 2:56 PM
   To: J. Daniel Hull <jdhull@hullmcguire.com>
   Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
   <jmargolin@selendygay.com>; Danielle Jackson <djackson@hullmcguire.com>;
   Claire O'Brien <cobrien@selendygay.com>
   Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

   Counsel,

   Following up on the below, please advise if you are available to participate in a 26(f)
   conference on July 28th from 2-4pm. Thank you.

   All best,

   Denae Kassotis
   Associate [Email]
   Selendy Gay Elsberg PLLC [Web]
   Pronouns: she, her, hers
   ----------------------------------------------
   +1 212.390.9062 [O]
   +1 914.560.6228 [M]


   From: Denae Kassotis
   Sent: Thursday, July 14, 2022 4:06 PM
   To: J. Daniel Hull <jdhull@hullmcguire.com>
   Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
   <jmargolin@selendygay.com>; Danielle Jackson <djackson@hullmcguire.com>;
   Claire O'Brien <cobrien@selendygay.com>
   Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

   Counsel –


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   Please advise if you are available to participate in a 26(f) conference on July 28th
   from 2-4pm. Thank you.

   All best,

   Denae Kassotis
   Associate [Email]
   Selendy Gay Elsberg PLLC [Web]
   Pronouns: she, her, hers
   ----------------------------------------------
   +1 212.390.9062 [O]
   +1 914.560.6228 [M]


   From: J. Daniel Hull <jdhull@hullmcguire.com>
   Sent: Thursday, June 23, 2022 9:35 AM
   To: Denae Kassotis <dkassotis@selendygay.com>
   Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
   <jmargolin@selendygay.com>; Juli Haller <julizhaller@protonmail.com>; Danielle
   Jackson <djackson@hullmcguire.com>
   Subject: Re: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

   Good morning, Ed, Josh and Denae--I assume the letter to Ms. Haller was intended
   for me and she got mine. I am generally available on and after July 8 and through
   July 22. Pick a date or two and I'll get back to you. That said, I will eventually
   withdraw from Henry Tarrio's representation in all January 6 civil cases against him
   due to a conflicts issue (of which Judge Mehta is aware) as soon as Mr. Tarrio can
   locate and engage a replacement. That process has been slowed by Mr. Tarrio's
   unexpected incarceration on March 7 and diminished accessibility. Working on it. In
   the meantime, I'm in. Give me some dates when you can. Thanks. Dan Hull

   J. Daniel Hull
   Hull McGuire
   O: 202.429.6520 | C: 619.895.8336
   Pronouns: who's, your, daddy




   On Wed, Jun 22, 2022 at 5:17 PM Denae Kassotis <dkassotis@selendygay.com>
   wrote:
     Counsel,

     Please see the attached correspondence.

     Many thanks,

     Denae Kassotis
     Associate [Email]


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     Selendy Gay Elsberg PLLC [Web]
     Pronouns: she, her, hers
     ----------------------------------------------
     +1 212.390.9062 [O]
     +1 914.560.6228 [M]




                                                                   Pg.4
